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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 MAGGIE SMITH, et al.

 Plaintiffs,

          v.                                         Civil Action No: 15-737 (RCL)

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA

 Defendant.

  PLAINTIFFS’ REPLY TO DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION
                  FOR LEAVE TO AMEND THE COMPLAINT

        Plaintiffs’ Motion for Leave to Amend [95] (“Pls.’s Mot.”) should be granted because the

District failed to carry its burden of establishing a reason for denying leave to amend in its

Opposition [101](“Def.’s Opp’n”). See Abdullah v. Washington, 530 F. Supp. 2d 112, 115

(D.D.C. 2008)( party opposing amendment bears the burden of coming forward with a colorable

basis for denying leave to amend).

                                       Two preliminary issues

        Plaintiffs address two preliminary issues in the District’s Opposition before responding to

the District’s “arguments.”

        First, the District expressly conceded the absence of bad faith or dilatory motive. Def.’s

Opp’n, p. 4. The District limits its express objections to what it calls “the unexplained and undue

delay in adding two new plaintiffs at this late date and the potential effect on discovery and the

briefing schedule going forward.” Id. The District waived objections based on the other Foman

factors such as futility of amendment by not raising them. Foman v. Davis, 371 U.S. 178, 182

(1962); Atchinson v. District of Columbia, 73 F.3d 418, 427 (1996).



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        Second, the Parties expressly and knowingly agreed in the Meet & Confer Statement that

“that Federal Rule of Civil Procedure 15 should govern any amendment of the pleadings.” Meet

and Confer Statement [78], p. 6, ¶ 2. The Parties did not “inadvertently fail[] to include a deadline

in their proposed scheduling order for amending the pleadings” as the District implies. In fact, the

provision was in the first draft of the statement the District sent to Plaintiffs. Plaintiffs’ counsel and

the District typically do not propose a deadline for amending the pleadings in their Meet and

Confer Statements and their proposed Scheduling Orders.

        Moreover, Valle v. Karagounis and the language from it Defendant quotes have no bearing

on this motion because Valle v. Karagounis is distinguishable. Valle v. Karagounis, 2020 WL

4039306, *2, (D.D.C. July 16, 2020). The only issue in Valle v. Karagounis was whether the

movant had discussed the proposed amended complaint with the non-movant before filing. Id. at

*9. Nothing in “that analysis shows” anything about Plaintiffs’ motion because Judge Nichols did

not reach the merits.

Plaintiffs’ motion should be granted because the District does not establish prejudice or futility or
                               any other reason to deny the motion

        None of the District’s arguments hold water.

        First, the District’s contention that Plaintiffs did not “provide[] actual notice regarding Ms.

Buffaloe 60 days before the close of discovery and six weeks before the filing of the motion[,]”

overlooks the facts that the District did not provide the address data Plaintiffs’ counsel needed to

identify residents and locate potential class members until August 31, 2020. Pls.’s Ex. # 1. Plaintiffs

were looking for resident Named plaintiffs so they could not begin to identify Named plaintiffs and

try to find them without the address data. At any rate, the District had ample time to depose Ms.

Buffaloe and they still do. At any rate, by waiving any objection based on dilatory the District




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waived any objection based on the mere passage of time. McNamara v. Miller, 269 F.2d 511, 515

(D.C. Cir. 1959).

        So, the District’s contention that “[P]laintiffs waited for almost nine months after learning

the identities of Ms. Buffaloe and Mr. Atkinson before they notified the District of their intent to

amend the complaint” is not a complete statement and what is omitted obscures some crucial facts.

        To be sure, the District did produce a data export from the MPD arrest database with data

about potential class members on February 11, 2021, and the data export did include data about

Ms. Buffaloe’s arrest in it. But, that data export did not include residence and address information.

Pls.’s Ex. 1 (Grabowski Decl.). Without address data Plaintiffs’ counsel were unable to determine

which persons in the data export were residents and which were non-residents. And as a practical

matter Plaintiffs’ counsel unable to contact potential Named Plaintiffs. Plaintiffs could not simply

go downtown to the Courthouse and look up address for persons in in the data export in

CourtView because the Superior Court courthouse has been effectively closed due to the Covid-19

pandemic. Images (with address information) in Superior Court felony cases are not available

online at the Court’s website.

        In fact, the District did not produce a data export with residence and addresses until

August 31, 2020. Pls.’s Ex. # 1. As a result, Plaintiffs could not identify residents and learn their

addresses and begin the process of screening them and contacting them and learning their

suitability as class representatives and Named Plaintiffs until after that date. Moreover, as with Ms.

Buffaloe, many persons had changed their addresses by that point.

        Therefore, a meaningful calculation of “delay” in terms of this motion is 67 days. That is,

the District produced the data export with address data on August 31, 2020. Plaintiffs then

analyzed the data to locate residence and addresses, updated the addresses, reached and

communicated with potential new plaintiffs, selected candidates, and then notified the District of

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Ms. Buffaloe by name and residency on November, 7, 2020. And any brief period between

Plaintiffs’ notifying the District of their intent to amend and Plaintiffs’ actually filing the motion for

leave to amend is insignificant because the District was on notice of the name of the prospective

Named Plaintiff and Plaintiffs provided discovery responses for her. Order granting leave to

amend [208], pp. 1-2 (docketed 1/20/2011), Barnes v. District of Columbia, 06-315 (D.D.C.)

(RCL).

         Moreover, viewing the date of production accurately, if the District had produced address

data about people in the data export back on February 11, 2021, Plaintiffs likely could have

screened the potential class members and notified the District by April 17, 2020. So the District is

actually responsible for any delay between April 17, 2020 and November 7, 2020. See Sinclair v.

Kleindienst, 645 F.2d 1080, 1085 (D.C. Cir. 1981) (reversing a denial of leave to amend a

complaint and noting that the plaintiffs' "substantial delay" was "insignificant relative to the five-year

inability of the FBI to locate the same wiretaps") (quoted in Atchinson v. District of Columbia, 73

F.3d 418, 426 (1996)).

         As to changes to the summary judgment briefing schedule moving forward if the operative

complaint changes, Plaintiffs did state that they did not expect the amendment to affect the

schedule if granted. Nor did the District articulate any changes to the schedule. All the District

mentioned was “potentially requiring further discovery by the District regarding the newly-added

plaintiffs.” The District had ample opportunity to depose Ms. Buffaloe and Mr. Atkinson and it

refused to take the opportunity.

         At the end of the day whether to grant Plaintiffs’ motion boils down to whether the District

has articulated any prejudice from granting Plaintiffs’ motion. Atchinson, 73 F.3d at 427

(1996)(focusing on prejudice rather than mere passage of time).



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        The answer is no, as explained in Plaintiffs Motion [95]. Order [208], p. 2 (docketed

1/20/2011), Barnes v. District of Columbia, 06-315 (D.D.C.) (RCL)(noting no delay where require

amendment would not require the District to engage in additional discovery, plaintiffs had already

submitted signed interrogatory responses from the proposed new plaintiff, and the District had

advance notice of the proposed amendment); see e.g., Heller v. District of Columbia, 290 F.R.D.

1, 5 (D.D.C. 2013)(Court denied motion for leave to amend to add an abandoned claim and new

plaintiffs with standing to bring the new claim because Government had planned and prepared for

litigation throughout the discovery period on the assumption that that claim had been abandoned

for lack of a plaintiff with standing).

                                            Conclusion

        For the reasons stated above and in Plaintiffs’ Motion for Leave to Amend the Complaint

the motion should be granted.

Respectfully submitted,

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